                                UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS


 MARGARET CZERWIENSKI,
 LILIA KILBURN, and AMULYA
 MANDAVA

              Plaintiffs,
    v.                                                               CASE NO. 1:22-cv-10202-JGD

 HARVARD UNIVERSITY AND THE
 PRESIDENT AND FELLOWS OF
 HARVARD COLLEGE

              Defendants.


                            HARVARD’S STATEMENT OF MATERIAL FACTS

         Pursuant to Fed. R. Civ. P. 56(c)(1), President and Fellows of Harvard College1 submits

the following Statement of Material Facts which cannot genuinely be disputed:


    1. Ilissa Povich serves as a Senior Investigator with Harvard University’s Office for Dispute

Resolution (“ODR”), the Harvard office responsible for investigation of formal complaints of

sexual harassment at Harvard. Affidavit of Ilissa Povich (“Povich Aff.”) ¶ 1.

    2. Povich has worked as an investigator at ODR since 2015. Povich Aff. ¶ 1.

    3. Povich is a member of the bar of the Commonwealth of Massachusetts. Povich Aff. ¶ 1.




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      Harvard University is not properly named as a Defendant in this action, since it is not a corporate entity
independent of the President and Fellows of Harvard College. Accordingly, the President and Fellows of Harvard
College. responds on behalf of both named Defendants.



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    4. Povich was the ODR Senior Investigator assigned in 2020 to investigate allegations

concerning John Comaroff, Professor of African and African American Studies and Anthropology

by, among others, Lilia Kilburn, a graduate student at Harvard. Povich Aff. ¶ 2.

    5. The investigation concerned allegations that Comaroff had violated the Sexual and Gender-

Based Harassment Policy and Procedures for the Faculty of Arts and Sciences at Harvard

University (“the FAS Policy and Procedures”). Povich Aff. ¶ 2. A true copy of the FAS Policy and

Procedures then in effect is attached to the Povich Aff. as Exhibit 1.

    6. Povich worked on the investigation with Jessica Shaffer, then an ODR Fellow. Povich Aff.

¶ 3. Shaffer is also a member of the Massachusetts Bar. Povich Aff. ¶ 3.

    7. ODR’s investigation of the concerns expressed by Kilburn began on May 18, 2020. Povich

Aff. ¶ 5.

    8. On that date, ODR received an email from Seth Avakian, Ph.D., Program Officer for Title

IX and Professional Conduct in Harvard’s Faculty of Arts and Sciences, attaching a complaint that

described allegations made to him by several graduate students about Comaroff. Povich Aff. ¶ 5.

    9. Under the FAS Policy and Procedures, complaints against a faculty member may be

initiated directly by the person whom the faculty member allegedly harassed or, as was the case

here, by “a third party filing on behalf of a potential Complainant (‘Reporter’).” Povich Aff. ¶ 5

(citing Povich Aff. Exhibit 1, at 25).

    10. Avakian’s email and the Complaint he attached constituted the formal initiation of a

complaint against Comaroff. Povich Aff. ¶ 5.




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   11. Under the FAS Policy and Procedures, Avakian’s Complaint required ODR to conduct

what the FAS Policy and Procedures call an “Initial Review.” Povich Aff. ¶ 6. The FAS Policy

and Procedures state:

       The Investigator will contact the Complainant or Reporter in an attempt to gather a
       more complete understanding of the allegations, as well as any related conduct that
       may implicate this Policy. When a complaint is brought by a Reporter, the
       Investigator will endeavor to meet with the person identified as the potential
       Complainant both to gather information and to discuss his or her interest in
       participating in an investigation.

       Based on the information gathered, the Investigator will determine whether the
       information, if true, would constitute a violation of this Policy such that an
       investigation is warranted . . .

Povich Aff. ¶ 6 (citing Povich Aff. Ex. 1 at 26).

   12. As part of that initial review, on May 29, 2020, Povich spoke with Avakian, who identified

Kilburn as one of the graduate students who had made allegations against Comaroff, as a potential

Complainant. Povich Aff. ¶ 6.

   13. On June 3, 2020, Avakian submitted a revised Complaint. Povich Aff. ¶ 6. The revisions

related to another potential Complainant; the allegations concerning Kilburn did not change.

Povich Aff. ¶ 6.

   14. On June 4, 2020, Povich emailed Kilburn. Povich Aff. ¶ 7 (citing Povich Aff. Exhibit 2).

Povich wrote:

       Dear Lilia,
       I am an Investigator in the Office for Dispute Resolution (“ODR”), and I am
       reaching out to see whether you would be available to discuss a matter that has
       come to the attention of our office. You are not suspected of wrongdoing in this
       matter. I am contacting you because a formal complaint was filed in our office, and

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       I was informed that you may have information pertaining to the complaint. I am
       contacting you in your capacity as a potential witness or potential complainant.
       Please find the following documents linked for your review: 1) the Sexual and
       Gender-Based Harassment Policy and Procedures for the Faculty of Arts and
       Sciences Harvard University; 2) Harvard University’s Procedures for
       Handling Complaints Involving Students Pursuant to the Sexual and Gender-
       Based Harassment Policy; 3) Frequently Asked Questions Concerning the
       Policy and Procedures; 4) Frequently Asked Questions Concerning the FAS
       Policy and Procedures; 5) the ODR Flowchart for Investigative Process; and 6)
       the Personal Advisor Role Frequently Asked Questions. As outlined in these
       documents, your participation is entirely voluntary, and ODR respects and protects
       privacy to the greatest extent possible, sharing information only on a need-to-know
       basis.
       I would like to set up a meeting with you to discuss the allegations in the complaint.
       If you wish, you may include a personal advisor, who can be any person who is not
       involved in the Complaint, including an attorney, in this meeting.
       I would like to schedule two hours for our meeting, which will occur remotely via
       Zoom. Please let me know if you are available for a two-hour period on Monday,
       June 8, 2020 anytime between noon and 5:00 p.m. or on Tuesday, June 9, 2020
       anytime between 9:30 a.m. and 1:00 p.m.
       I look forward to speaking with you.

   15. Povich’s June 4, 2020 email to Kilburn contained hyperlinks (set out in bold in Paragraph

7 above) to documents describing ODR’s investigative process. Povich Aff. ¶ 8.

   16. A true copy of the document referenced in Povich’s June 4, 2020 email to Kilburn as

Frequently Asked Questions Concerning the Policy and Procedures (as it existed as a linked

document on June 4, 2020) is attached to the Povich Aff. as Exhibit 3. Povich Aff. ¶ 8.

   17. A true copy of the document referenced in Povich’s June 4, 2020 email to Kilburn as ODR

Flowchart for Investigative Process (as it existed as a linked document on June 4, 2020) is

attached to the Povich Aff. as Exhibit 4. Povich Aff. ¶ 8.



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    18. Each of these two documents, the Frequently Asked Questions Concerning the Policy

and Procedures (Povich Aff. Exhibit 3) and the ODR Flowchart for Investigative Process

(Povich Aff. Exhibit 4), described ODR’s policies and practices concerning the sharing of

information provided to ODR by individuals who make complaints to ODR (“Complainants”), by

witnesses, or by the individuals against whom those complaints are made (“Respondents”). Povich

Aff. ¶ 9.

    19. In particular, Povich Aff. Exhibit 3 (Frequently Asked Questions Concerning the Policy

and Procedures) included the following language:

        Will both parties have access to the materials that ODR uses in reaching its
        conclusions?
        Yes. During the course of the investigation, both the complainant and the
        respondent will have the opportunity to respond to all information used by the
        Investigative Team in reaching its conclusions. They will also have the opportunity
        to provide the Investigative Team with any additional information that they have.
        This information, like other information received from the complainant and
        respondent during the investigatory process, will be shared with the other. In
        addition, each party will have the opportunity to review and comment on the draft
        investigative report, and the Investigative Team will evaluate the comments before
        issuing a final report (emphasis added).

Povich Aff. ¶ 10 (citing Povich Aff. Exhibit 3, at 8).

    20. Exhibit 4 (ODR Flowchart for Investigative Process) contains a detailed description of

ODR’s investigatory process for violations of the University Sexual and Gender-Based

Harassment Policy. Povich Aff. ¶ 11. It explains that, if ODR determines that the facts alleged, if

true, would “constitute a violation of the Policy . . .

        ODR notifies the Complainant or Reporter and appropriate School or unit of the
        plan to investigate. . . .


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       ODR notifies the Respondent in writing of allegations and provides Respondent
       with copies of the complaint and any supporting materials filed with the complaint.
       ODR informs Respondent of their rights . . .
       ODR conducts separate interviews with each of the parties. If applicable, the parties
       may bring a Personal Advisor to their respective interviews with ODR. A Personal
       Advisor may be, for example, a University officer, attorney, or advocate . . .
       ODR collects additional information (e.g., interview witnesses, collect
       documents, conduct site visits). The parties may submit additional materials they
       believe may be relevant. Copies of these materials will be given to the other party
       and, at that party’s discretion, their Personal Advisor (if applicable) . . . (emphasis
       added).

Povich Aff. ¶ 11 (citing Povich Aff. Exhibit 4).

   21. The FAS Policy and Procedures (which Povich also sent to Kilburn on June 4, 2020)

contains specific provisions concerning FAS’s expectations of confidentiality with respect to the

investigation. In particular, the FAS Policy and Procedures state:

       Once a complaint is filed, the Complainant or Reporter, the Respondent, and any
       witnesses will be notified that disclosing information about the case has the
       potential for compromising the integrity of the investigation and might, in certain
       circumstances, be construed as retaliatory. Retaliation of any kind is in itself a
       separate violation of this Policy and may lead to an additional complaint and
       consequences.

       The parties remain free to share their own experiences, other than information that
       they have learned solely through the investigatory process, though to avoid the
       possibility of compromising the investigation, it is generally advisable to limit the
       number of people in whom they confide (emphasis added).

Povich Aff. ¶ 12 (citing Povich Aff. Exhibit 1, at 27).

   22. Between June 4, 2020 and July 13, 2020, ODR and Kilburn exchanged a number of emails

concerning scheduling. Povich Aff. ¶ 13




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   23. In those emails, ODR also responded to procedural questions Kilburn posed. In an email

on July 2, Shaffer (the ODR Fellow) wrote to Kilburn (copying Povich):

       ODR’s investigative process continues remotely during the response to the novel
       coronavirus. As a reminder, the Policy and Procedures grants rights to parties that
       do not extend to witnesses. Both parties have the right to review and respond to
       all information that ODR may rely on in the investigation, including the
       complaint, the response, any written information provided by a witness, or other
       documents submitted.
       As explained in Frequently Asked Questions, FAQ #25:
       Will both parties have access to the materials that ODR uses in reaching its
       conclusions?
       Yes. During the course of the investigation, both the complainant and the
       respondent will have the opportunity to respond to all information used by the
       Investigative Team in reaching its conclusions. They will also have the
       opportunity to provide the Investigative Team with any additional information that
       they have. This information, like other information received from the complainant
       and respondent during the investigatory process, will be shared with the other. In
       addition, each party will have the opportunity to review and comment on the draft
       investigative report, and the Investigative Team will evaluate the comments before
       issuing a final report.
       For the past six years, ODR has routinely emailed the parties such documents with
       redactions removing any personally identifying information of students in
       accordance with the Family Educational Rights and Privacy Act (“FERPA”).
       Likewise, ODR shares other information gathered upon which ODR may rely, such
       as information gathered in interviews, with the parties orally.

Povich Aff. ¶ 13 (citing Povich Aff. Ex. 5) (emphasis added).

   24. On July 6, 2020, Kilburn responded to Shaffer’s email: "Hi Jessica and Ilissa, Thank you

for this information—it is helpful . . .” Povich Aff. ¶ 14 (citing Povich Aff. Exhibit 6).

   25. ODR Fellow Shaffer and Povich met for the first time with Kilburn and the personal

advisor Kilburn had selected, Jacqueline Yun, Executive Director of the Graduate School of Arts

and Sciences Student Center, by Zoom on July 13, 2020. Povich Aff. ¶ 15.
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   26. At the outset of the interview, Kilburn confirmed that she wished to proceed as the

Complainant in the investigation. Povich Aff. ¶ 15.

   27. Povich provided an overview of the ODR process, as she does as a matter of practice in the

first ODR interview with participants in the ODR process. Povich Aff. ¶ 15.

   28. In particular, it was Povich’s practice in 2020 (and remains her practice today) to inform

participants like Kilburn, among other things, that ODR’s role is neutral; that ODR approaches the

investigation with no pre-conceived idea about whether there is a violation or not; that the

interviewee’s participation is voluntary and that the interviewee may not only decide whether to

participate generally, but to decide whether to answer individual questions. Povich Aff. ¶ 15.

   29. Povich also explained that, to the extent ODR may rely on information provided by the

Complainant or provided by witnesses the Complainant identifies, ODR would share that

information with the potential Respondent (here, Comaroff). Povich Aff. ¶ 15.

   30. Povich also told Kilburn that it is ODR’s practice to likewise share any information the

Respondent or witnesses identified by the Respondent provide to ODR, and on which ODR may

rely, with the Complainant. Povich Aff. ¶ 15.

   31. Povich further explained that ODR expected the parties to keep information they learned

as a result of the investigation confidential; that no party may retaliate against a party or witness

as a result of their participation in ODR’s investigation; and that ODR would notify the parties of

any changes in procedures should they occur. Povich Aff. ¶ 15.

   32. ODR Fellow Shaffer took typewritten notes of ODR’s first interview of Kilburn, which

Povich reviewed for accuracy shortly after the interview. Povich Aff. ¶ 16.


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   33. ODR Fellow Shaffer’s notes describe Povich’s statements at the outset of the July 13, 2020

interview with Kilburn as follows:

        [Reviews: neutral role of ODR; voluntariness of participation; under current
        Procedures, provide information that may rely on to both parties--parity in
        information sharing; will be informed in Procedures change; expectation of
        confidentiality; prohibition against retaliation.]

Povich Aff. ¶ 16 (citing Povich Aff. Ex. 7, at 1).

   34. At the beginning of the July 13, 2020 interview of Kilburn, Povich also asked Kilburn

whether Kilburn had any questions about the documents ODR had previously provided to her,

including the Frequently Asked Questions Concerning the Policy and Procedures (Povich Aff.

Exhibit 3) and the ODR Flowchart for Investigative Process (Povich Aff. Exhibit 4). Povich Aff.

¶ 17.

   35. Kilburn said that she had spoken with her personal advisor about several of the documents.

Povich Aff. ¶ 17. ODR Fellow Shaffer’s notes of the July 13, 2020 state as follows:

        ODR . . . We provided you several documents including the Policy and Procedures
        in an email some time ago. Do you have any questions about those?
        [Kilburn]: Let me check, but I think [Yun, Kilburn’s personal advisor] and I were
        able to speak about a bunch of those. I think the ones I have maybe there will be
        other moments to ask them.
Povich Aff. ¶ 17 (citing Povich Aff. Exhibit 7 at 1).

   36. In the course of ODR’s July 13 interview of Kilburn, Povich reminded Kilburn a number

of times that if ODR proceeded with its investigation it would share information that she provided

with Comaroff. Povich Aff. ¶ 18.




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   37. For example, Kilburn said that she had described certain interactions with Comaroff in a

survey about LGBT life at Harvard. Povich Aff. ¶ 18. Povich told Kilburn that she could provide

a copy of that survey to ODR but reminded her that, if she did, ODR would share that information

with Comaroff. Povich Aff. ¶ 18. As ODR Fellow Shaffer’s notes reflect, Povich said: “You’re

welcome to provide that to us. As a reminder that would be shared with [Comaroff].” Povich Aff.

¶ 18 (citing Povich Aff. Exhibit 7, at 20).

   38. Later in the interview, Kilburn was asked whether she intended to file a new complaint, as

the original complaint in the matter had been filed by Avakian. Povich Aff. ¶ 19. Kilburn said that

she did intend to file a new complaint, and asked whether that complaint would be shared with

Comaroff. Povich Aff. ¶ 19. Povich told Comaroff that it would be, and explained that under the

Family Educational Rights and Privacy Act (“FERPA”), identifying information concerning

students would be redacted. Povich Aff. ¶ 19. As ODR Fellow Shaffer’s notes reflect:

       [Kilburn]: I think so. Yeah, I think I will. I think Seth’s isn’t quite complete
       enough from my standpoint.

       ODR: If it’s possible to get that by Thursday, that would be great.

       [Kilburn]: I think I can probably try to do that. Do you prefer a PDF or word doc?

       ODR: Whatever works for you.

       [Kilburn]: That is shared with [Comaroff], correct?

       ODR: Yes. [Explains FERPA redactions.]

Povich Aff. ¶ 19 (citing Povich Aff. Exhibit 7, at 26-27).

   39. Later on July 13, 2020, Kilburn sent ODR her own complaint, making her the Complainant

under the FAS Policy and Procedures. Povich Aff. ¶ 20. That Complaint, with minor amendments


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that Kilburn submitted on July 16, 2020, served as the operative complaint for ODR’s

investigation. Povich Aff. ¶ 20.

   40. ODR’s interview of Kilburn continued on July 20, 2020. Povich Aff. ¶ 21. In that interview,

Povich again reminded Kilburn that information she provided to ODR would be shared with

Comaroff. Povich Aff. ¶ 21. In that interview, Yun, Kilburn’s personal adviser, asked whether the

complaint which Kilburn had provided to ODR would be shared in full with Comaroff, except for

the redaction of certain names. Povich Aff. ¶ 21. Povich responded that it would and again

reminded Kilburn that any substantive documents she provided to ODR would be shared with

Comaroff and the content of interviews that ODR might rely on would also be shared with him.

Povich Aff. ¶ 21. As ODR Fellow Shaffer’s notes reflect:

       [Yun]: Yeah, this is procedural question, so I can articulate it. [Kilburn] was asking
       and I didn’t feel 100% confident of the answer but wanted her to have an answer.
       With what [Comaroff] sees, when it comes to the Complaint, the statement, it’s not
       altered in any way except blocking out names, correct?

       ODR: Yes, we only redact student information. He’d see it in this form, like really
       anything you provide. We can’t consider character evidence, but people frequently
       provide it. Our process is we share what was provided by the parties. He’ll see
       everything you submit, and you will see everything he submits.

       [Kilburn]: Does that apply to our email exchanges before the Complaint opened?

       ODR: That doesn’t apply to procedural questions, like questions on timing. We
       don’t share that kind of information.

       [Kilburn]: Great. Connected to that, how is the interview shared? The Complaint is
       viewed in totality. Is the interview shared as everything gathered?
       ODR: Under the current Procedures we don’t share everything in the interview. We
       share anything we might rely on, but we don’t share the interviews in their entirety.
       If the Procedures change, we will let you know and explain how that change will
       be implemented.
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       [Kilburn]: Got it.

       ODR: Our current practice is we read from the notes the portions that we might rely
       on.

       [Kilburn]: The parts relevant to the actual possible violations of the Policy?

       ODR: Yes, exactly.

Povich Aff. ¶ 21 (citing Povich Aff. Exhibit 7, at 29-30).

   41. On July 29, 2020, Povich sent Comaroff formal notice that an ODR investigation had been

initiated. Povich Aff. ¶ 22 (citing Povich Aff. Exhibit 8).The notice enclosed a copy of Kilburn’s

complaint (with student names redacted) and contained links to the FAS Policy and Procedures

and the other documents Povich had sent to Kilburn on June 4, 2020. Povich Aff. ¶ 22. The notice

informed Comaroff about FAS’s expectation that he keep confidential information he learned

through the investigatory process:

       As set forth in Section VI.D.vi of the FAS Policy and Procedures, Confidentiality,
       ODR, personal advisors and others at the University involved in or aware of the
       Complaint will take reasonable steps to protect the privacy of all involved. Once a
       complaint is filed, the Complainant, the Respondent, and any witnesses will be
       notified that disclosing information about the case has the potential for
       compromising the integrity of the investigation and might in certain circumstances
       be construed as retaliatory. Retaliation of any kind is in itself a separate violation
       of the Policy and may lead to an additional complaint and consequences.

       The parties remain free to share their own experiences, other than information they
       have learned solely through the investigatory process, though to avoid the
       possibility of compromising the investigation, it is generally advisable to limit the
       number of people in whom they confide.

       As set forth in the FAS Policy, retaliation against an individual for raising an
       allegation of sexual or gender-based harassment, for cooperating in an investigation
       of such a complaint, or for opposing discriminatory practices is prohibited.

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         Submitting a complaint that is not in good faith or providing false or misleading
         information in an investigation is also prohibited (emphasis added).

Povich Aff. ¶ 22 (citing Povich Aff. Exhibit 8).

      42. Comaroff submitted his Response to Kilburn’s complaint on August 12, 2020. Povich Aff.

¶ 23.

      43. On August 13, 2020, consistent with ODR’s policy to share evidence submitted by one

party with another, Povich sent Kilburn by email Comaroff’s Response to Kilburn’s complaint and

copies of the exhibits that he had provided, with student names redacted pursuant to FERPA.

Povich Aff. ¶ 23.

      44. During the course of the investigation, Povich regularly provided Kilburn copies of

documents provided to ODR by Comaroff or by any witness Comaroff identified, including on

August 13, 2020, September 21, 25 and 29, 2020 and November 20 and 25, 2020. Povich Aff. ¶

23.

      45. On August 24, 2020 Kilburn submitted a 36-page written response to the formal Response

Comaroff had submitted to ODR on August 12, 2020. Povich Aff. ¶ 24.


      46. In that response, Kilburn stated that, during the summer of 2018, while speaking to a

counselor at Harvard University Health Services (“HUHS”) she was seeing about matters

unrelated to Comaroff, “I also began to speak to a counselor about Comaroff himself . . . his

repeated sexual harassment of me . . . about how uncomfortable he had made me and how I felt he

was involving his wife in his misconduct, using her as cover.” Povich Aff. ¶ 24 (citing Povich Aff.

Exhibit 9, at 25-26).



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   47. Kilburn’s response further stated that she became concerned that her HUHS counselor

might be a “mandatory reporter” obligated to report what Kilburn said to Harvard and that Kilburn

“might be forced into reporting Comaroff before I was ready.” Povich Aff. ¶ 24 (citing Povich

Aff. 9, at 25). Kilburn’s August 24, 2020 response continued:


       Because of my fear that discussing my experiences frankly with a Harvard
       employee would remove my agency over how that information was shared, I sought
       out a new licensed mental health professional with whom to discuss these issues. I
       consulted her in 2018 and again in 2019. . . as I specifically weighed whether I
       should pursue disciplinary action against Professor Comaroff. She is currently on
       vacation, but I believe she has specific memories of our conversations about
       misconduct in my department, my concerns about the damage Professor Comaroff
       could do to my career, and my repeated and unfruitful attempts to get assistance.
       She is ready to attest to this when she returns from vacation.

       Thank you to Professor Comaroff for jogging my memory on this additional incident
       of contemporaneous corroboration and disclosure of his misconduct and its effects
       on me.

Povich Aff. ¶ 24 (citing Povich Aff. 9, at 26).

   48. On August 28, 2020, four days after receiving Kilburn’s August 24 submission, ODR

Fellow Shaffer and Povich interviewed Kilburn. Povich Aff. ¶ 25. Kilburn’s personal advisor, Yun,

was also present. Povich Aff. ¶ 25.

   49. In that meeting, Yun raised a question concerning identifying a therapist as a potential

witness. Povich Aff. ¶ 25. As ODR Fellow Shaffer’s notes reflect:

       [Yun]: Procedural question about witnesses: If you confide in a confidential
       resource, a therapist, can you list them as a potential witness and they’ll have the
       option to participate?

       ODR: [Explains ODR will speak to confidential resources, but that such witnesses
       often will not participate without a waiver from the party.]

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       [Yun]: It’s okay to do that?

       ODR: Absolutely. If you give them that waiver, they will generally talk to us.

       [Yun]: Thank you.
               ***

Povich Aff. ¶ 25 (citing Povich Aff. Exhibit 10, at 21).

   50. Later in the August 28, 2020 interview, Povich followed up with Kilburn about the licensed

mental health professional Kilburn had mentioned in her August 24 submission, whom Kilburn

said had “specific memories of . . . conversations about misconduct in my department [and] my

concerns about the damage Comaroff could do to my career . . .” Povich Aff. ¶ 26 (citing Povich

Aff. Exhibit 9, at 26). As ODR Fellow Shaffer’s notes reflect:

       ODR: You also referred to a licensed mental health professional and a UHS
       counselor. I understood you went outside the University because you were
       concerned about Title IX reporting requirements. Those people are confidential.

       [Kilburn]: I didn’t realize that--only through this process. I was worried about
       losing control of the information at the time.

       ODR: Are there people outside the University or in the University who you feel
       like you provided information to that was not provided to other people?

       [Kilburn] I can’t say it wasn’t provided to other people, but I’m sure I spoke in
       great detail on impact a lot about worries in my career and what I said and what it
       would mean to say something about this. [The therapist] who I worked with all
       through fall 2018 and also spring 2019, and I think she should have a bunch of
       notes or memories for you. (emphasis added).

Povich Aff. ¶ 26 (citing Povich Aff. Exhibit 10 at 26).

   51. In the same August 28, 2020 interview, Kilburn said, as reflected in ODR’s notes: “I’m

really upset that I don’t have access to my messages from my first semester due to that thing at the
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Apple store …. I’d like to reach out to people and ask them to search things in their own messages

but that’s messing with witnesses.” Povich Aff. ¶ 26 (citing Povich Aff. Exhibit 10 at 28). ODR

responded to Kilburn’s concerns by reminding her that ODR would ask witnesses she identified

for any documents they may have, and disclose them to the parties. Povich Aff. ¶ 26 (citing Povich

Aff. Exhibit 10 at 28). As ODR’s notes reflect, Povich said to Kilburn: “We ask every single

witness if they have documents that are relevant, which we share with you.” Kilburn said she

understood, saying “Got it,” according to ODR’s notes. Povich Aff. ¶ 26 (citing Povich Aff.

Exhibit 10 at 28).

   52. ODR did not ask Kilburn about the identity of the HUHS counselor she had seen or take

steps to obtain that counselor’s records. Povich Aff. ¶ 27. To this day Povich does not know the

identity of that counselor and has never seen any HUHS records concerning Kilburn. Povich Aff.

¶ 27.

   53. On September 14, 2020, Povich and Shaffer conducted their first interview of Comaroff.

Povich Aff. ¶ 28. Comaroff’s personal advisor, Janet Halley, Royall Professor of Law, Harvard

Law School, was also present. Povich Aff. ¶ 28.

   54. At the outset of the interview, reflecting ODR’s routine practice, Povich provided

Comaroff information concerning certain procedural aspects of the investigation. Povich Aff. ¶ 28.

Povich focused in particular on Harvard’s expectation, as stated in the FAS Policy and Procedures

(see Povich Aff. Exhibit 1, at 27), that Comaroff would keep confidential what he learned through

the investigatory process. Povich Aff. ¶ 28. As Shaffer’s contemporaneous notes reflect:

        ODR: [Welcomes [Comaroff]. Reminds [him] about: expectation of confidentiality
        from the FAS Procedures: ‘disclosing information about the case has the potential
        for compromising the integrity of the investigation and might in certain
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       circumstance be construed as retaliatory. [. . . ] Parties remain free to share their
       own experiences, other than information that they have learned solely through
       the investigatory process, though to avoid the possibility of compromising the
       investigation, it is generally advisable to limit the number of people in whom they
       confide’; prohibition against retaliation; right to a [personal advisor], who may be
       an attorney; breaks available as needed; logistics of breaks on Zoom; purpose of
       post-Response interview; post-Response interview relates only to [Kilburn’s]
       complaint; parties are welcome to share information in whatever way they feel is
       appropriate.] Questions?

       [Comaroff]: No, I think that’s fine. Thank you.

Povich Aff. ¶ 28 (citing Povich Aff. Exhibit 11, at 1) (emphasis added).

   55. On September 25, 2020, Kilburn sent ODR Fellow Shaffer an email containing names and

contact information for eight witnesses. Povich Aff. ¶ 29 (citing Povich Aff. Exhibit 12). Kilburn

wrote in the email: “I think the following would make sense as a first set of people for you to speak

to; I'll attach email addresses for non-Harvard people, but please let me know if you'd like phone

numbers also.” Povich Aff. ¶ 29.

   56. The list of eight names included the mental health counselor. Kilburn identified as a witness

during ODR’s August 28, 2020 ODR interview. Povich Aff. ¶ 29. The email to ODR also included

the therapist’s email address. Povich Aff. ¶ 29. ODR responded:

      Thank you for your email. I am writing to confirm receipt of the eight potential
      witness names (and relevant contact information) that you submitted. You email will
      be redacted pursuant to the Family Educational Rights and Privacy Act (“FERPA”)
      to remove personally identifying information of students and will be provided to
      Respondent. I will share with you shortly the list of witnesses identified by
      Respondent, and we will provide you the names of any additional witnesses
      identified by ODR when we identify them.

Povich Aff. ¶ 29 (citing Povich Aff. Exhibit 12).



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On October 8, 2020, in a response to an email providing Kilburn documents a witness had

provided, Kilburn wrote ODR:

       Thank you Ilissa and Jessica, I appreciate it. I have a question: I've noticed a shift
       toward me receiving emails that the Respondent sent to you, and vice versa. Early
       in the process it seemed that I had the ability to communicate with you all without
       that information automatically being sent to the Respondent-- or, for example, I
       would receive documents he sent you, but not other correspondence. I am
       wondering if you can clarify whether this is a shift that occurred at a particular
       moment in the process, and if it applies to all communications from here on out?
       Any clarification would be greatly appreciated.

Povich responded to Kilburn as follows:

       Thank you for your email. There has been no change in the ODR investigative
       process over the course of the investigation with respect to sharing information
       between the parties. ODR shares any substantive information provided by one
       party with the other party. Sometimes substantive information is conveyed in
       “cover” emails from a party, and sometimes it is only conveyed in an attachment
       to an email. If substantive information is only conveyed in an attached document,
       ODR does not provide the ‘cover’ email to the other party. ODR does not share
       emails from one party with the other party that raise only procedural questions.
       You may wish to refer to Question 25 of the Frequently Asked Questions
       Concerning the Harvard University Sexual and Gender-Based Harassment Policy
       and Procedures which discusses the sharing of information with the parties.
Povich Aff. ¶ 29 (citing Povich Aff. Exhibit 13).

   57. On October 19, 2020, ODR Fellow Shaffer wrote to Kilburn’s therapist at the email address

that Kilburn provided on September 25, 2020. Povich Aff. ¶ 30. In that email, ODR Fellow Shaffer

informed the therapist that ODR was reaching out to her in her “capacity as a potential witness

because ODR has received notice that you may have information about a matter that our office is

investigating.” Povich Aff. ¶ 30 (citing Povich Aff. Exhibit 14).

   58. Later on October 19, 2020, the therapist replied to ODR Fellow Shaffer, offering to speak

with ODR on October 22, 2020. Povich Aff. ¶ 31 (citing Povich Aff. Exhibit 15).
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   59. On October 22, 2020, Povich and ODR Fellow Shaffer met with the therapist by Zoom.

Povich Aff. ¶ 32. At the outset, ODR Fellow Shaffer explained to the therapist, among other things,

that any information ODR learned during the interview that it might rely on would be shared with

both parties to the investigation. Povich Aff. ¶ 32. The therapist told ODR that she believed that

she knew why ODR wished to interview her because of an email she had received over the summer.

Povich Aff. ¶ 32. Povich’s notes from the meeting confirm that ODR Fellow Shaffer informed the

therapist that ODR would share information ODR might rely on with all the parties to the

investigation. Povich Aff. ¶ 32 (citing Povich Aff. Exhibit 16).

   60. In ODR’s October 22, 2020 interview with the therapist, the therapist explained that she

had been a licensed mental health counselor for 28 years. Povich Aff. ¶ 33. She said she was no

longer seeing Kilburn but had seen her approximately weekly from September 2018 to March

2019. Povich Aff. ¶ 33. As ODR’s detailed notes reflect, the therapist also said: “I did get an email

from [Kilburn] over the summer asking if I had documentation about what we talked about . . .

related to her position as a Ph.D. candidate at Harvard and what the atmosphere is like.” Id. (citing

Povich Aff. Exhibit 16 at 1-2).

   61. The therapist told ODR that Kilburn had spoken to her about what Kilburn had described

as “harassment [and] feeling of unsafety . . .” Povich Aff. ¶ 34 (citing Povich Exhibit 16 at 2).

   62. Shaffer followed up on Kilburn’s August 28, 2020 statement that the therapist “should have

a bunch of notes or memories for [ODR]” by asking the therapist whether she was willing to

provide any documents related to her discussion with Kilburn to ODR. Povich Aff. ¶ 34.

   63. Shaffer informed the therapist that if she provided information to ODR, and ODR

concluded that it might rely on it, ODR would share that information with both parties. Povich

Aff. ¶ 34. As ODR’s notes reflect, Shaffer said: “If you would feel comfortable, sharing that could
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be information we’d consider. Understand if you provide it and we think we might rely on it, we

would send it to both parties.” Povich Aff. ¶ 34 (citing Povich Aff. Exhibit 16 at 7).

   64. Shaffer further explained to the therapist that, under FERPA, ODR would redact student

identifying information from any records the therapist sent. The therapist told ODR that she had

gone through her notes and found two that “might be helpful.” Povich Aff. ¶ 34. She said she

would provide notes from her therapy sessions with Kilburn on March 6, 2019 and March 21,

2019. Povich Aff. ¶ 34. (The therapist actually provided notes for March 20, 2019 rather than

March 21, 2019. Povich Aff. ¶ 34). The therapist added: “In transmitting via email I need to comply

with HIPAA.” Povich Aff. ¶ 34 (citing Povich Aff. Exhibit 16 at 7). She also agreed to keep her

conversations with ODR confidential, saying: “confidentiality is my bread and butter.” Povich Aff.

¶ 34 (citing Povich Aff. Exhibit 16 at 8).

   65. Later on October 22, 2020, the therapist sent an email to ODR Fellow Shaffer, enclosing

her March 6, 2019 and March 20, 2019 therapy notes. Povich Aff. ¶ 35. The therapist added: “Good

luck with your investigation.” Povich Aff. ¶ 35 (citing Povich Aff. Exhibit 17).

   66. At 4:33 p.m. on September 22, 2020, Shaffer wrote to the therapist:

       Thank you for taking the time to meet with us today. I am writing to confirm receipt
       of the two single-page documents you provided. To the extent your cover email
       and/or these documents contain information upon which we may rely, the
       information will be redacted in accordance with the Family Educational Rights and
       Privacy Act (“FERPA”), as appropriate, and shared with the parties.

Povich Aff. ¶ 36 (citing Povich Aff. Exhibit 18).

   67. ODR interviewed the therapist solely because Kilburn identified her as a witness and

provided her email address to ODR. Povich Aff. ¶ 37.




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    68. ODR obtained the therapist’s notes of her March 6, 2019 and March 20, 2019 sessions

solely because Kilburn told ODR that the therapist “should have a bunch of notes or memories for

[ODR].” Povich Aff. ¶ 37 (citing Povich Aff. Exhibit 10 at 26).

    69. Had Kilburn not identified the therapist as a witness and directed ODR to the therapist’s

notes, ODR would not have taken steps to interview the therapist at all. Povich Aff. ¶ 37. ODR

does not seek information about Complainant’s mental health counseling unless, as here, a

Complainant volunteers that information and identifies the mental health counselor as a witness.

Povich Aff. ¶ 37.

    70. When ODR does speak to a mental health counselor a party has identified, it is ODR’s

practice to inform that mental health counselor with whom it speaks that it will share any

information the counselor provides with both parties to the investigation. Povich Aff. ¶ 37.

    71. Under the circumstances, Povich believed that the therapist could speak to ODR and send

ODR the two therapy notes the therapist selected without violating any obligation to Kilburn.

Povich Aff. ¶ 37.

    72. On October 30, 2020, consistent with ODR’s policy, and the notice of sharing information

previously provided to the parties and the therapist, including the repeated notices described above,

Shaffer sent redacted copies of the records the therapist had provided to Kilburn and Comaroff.

Povich Aff. ¶ 38. Shaffer’s email to Kilburn, which copied Yun, Kilburn’s personal advisor, stated

in part:

           I am writing to update you in the above matter. This week we held three witness
           interviews. We will do outreach to schedule additional witness interviews next
           week. I would also like to provide you four documents that were submitted in this


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         matter. Some information in these documents has been redacted for privacy
         reasons. Please find the following documents attached for your review:
                                    ***
            Two progress notes that [the therapist] submitted to ODR on October 22,
             2020. Your initials and date of birth have been redacted, in accordance with
             the Family Educational Rights and Privacy Act (“FERPA”) to remove all
             identifying student information.
                                    ***
         Please let us know if you have any questions.

Povich Aff. ¶ 38 (citing Povich Aff. Exhibit 19).

      73. In addition to redacting student names, the March 20 therapy notes sent to Kilburn also

redacted certain information not related to the investigation. Povich Aff. ¶ 38.

      74. On the same day, consistent with ODR’s routine practice, grounded in the applicable policy

and procedures and with the repeated notices provided as described above regarding ODR sharing

information on which it might rely with the parties, Shaffer emailed Comaroff and his personal

advisor copies of the same redacted therapy notes ODR had provided to Kilburn. Povich Aff. ¶ 39

(citing Povich Aff. Exhibit 20).

      75. In sessions on January 5, 6, and 7, 2021, Povich met with Kilburn and her personal advisor,

Yun, to hold a “review of evidence” meeting, a standard part of the ODR process, in which ODR

reviews the evidence it has gathered with the parties and asks follow-up questions. Povich Aff. ¶

40.

      76. ODR Program Administrator Erika Christensen was also present for the interview, and

took detailed, contemporaneous typewritten notes, which Povich reviewed shortly after these

meetings. Povich Aff. ¶ 40 (citing Povich Aff. Exhibit 21.)


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    77. At the beginning of the second day of that interview, Povich asked Kilburn whether she

had any questions or comments on the meeting the previous day. Povich Aff. ¶ 40. As ODR’s

notes state:

        ODR: I’m happy to pick up where we left off, but first, do you have any questions
        or want to comment on anything?

        [Kilburn]: I don’t think so. Yeah. I was thinking, just kind of trying to get a sense
        of how long this might take and if there are people I should be taking off this list,
        but why don’t we get started. I also realize I did have some emails with [the
        therapist] that maybe I’ll send you that I think could potentially be helpful,
        conversations I explicitly remembered having about [Comaroff] and I think she
        did lose some records, so I can send you that. (emphasis added).

Povich Aff. ¶ 40 (citing Povich Aff. Exhibit 21 at 44). (Kilburn did not in fact share additional

emails to the therapist with ODR. Povich Aff. ¶ 40.) During the January 5-7, 2020 meetings, and

consistent with ODR’s practice to review evidence it gathers with both parties to an ODR

investigation, Povich read to Kilburn from ODR’s notes of interviews of witnesses Kilburn had

identified and from notes of witnesses Comaroff had identified Povich Aff. ¶ 40. As part of that

process, on January 6, 2021, Povich read to Kilburn from ODR’s notes of ODR’s October 22, 2020

interview of the therapist. Povich Aff. ¶ 40 (citing Povich Aff. Exhibit 21 at 86-89).

    78. Consistent with ODR’s policies of sharing information provided by witnesses identified by

one party to the other party, on January 6, 2021 and January 7, 2021 Povich also read to Kilburn

from ODR notes of its interviews with four witnesses Comaroff had identified. Povich Aff. ¶ 41

(citing Povich Aff. Exhibit 21 at 103-44). In addition, Povich read to Kilburn from ODR’s notes

of its interview with Comaroff. Povich Aff. ¶ 41 (citing Povich Aff. Exhibit 21 at 147-71).




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   79. At the end of ODR’s January 7, 2021 meeting with Kilburn, as ODR’s notes reflect, Povich

explained ODR’s next steps. Povich Aff. ¶ 42. In particular, Povich told Kilburn that ODR’s next

step was to hold a review of the evidence it had gathered with Comaroff. Povich Aff. ¶ 42 (citing

Povich Aff. Exhibit 21 at 171).

   80. Kilburn expressed no concerns about ODR meeting with Comaroff to conduct that review

of evidence or about ODR sharing with Comaroff information it obtained from witnesses Kilburn

had identified, just as ODR had disclosed to Kilburn information provided by witnesses Comaroff

had identified. Povich Aff. ¶ 42.

   81. In the weeks that followed, ODR sent Kilburn a weekly email updating her on the status of

ODR’s investigation. Povich Aff. ¶ 43. Each of these emails informed Kilburn that ODR was

preparing for Comaroff’s “review of evidence” meeting. Povich Aff. ¶ 43. ODR sent these emails

on January 15, 2021 (Povich Aff. ¶ 43 (citing Povich Aff. Exhibit 22)), January 22, 2021 (Povich

Aff. ¶ 43 (citing Povich Aff. Exhibit 23)), and January 29, 2021 (Povich Aff. ¶ 43 (citing Povich

Aff. Exhibit 24)).

   82. On January 20, 2021, Kilburn wrote to Povich among others: “Could you provide me some

specifics on when I will next be needed for this process? I wasn’t sure if it was a month from our

last conversation, or a month after your evidence review with JC [Comaroff].” (Emphasis

added).” Povich Aff. ¶ 44 (citing Povich Aff. Exhibit 25).

   83. In emails on February 5, 2021, February 12, 2021, February 19, 2021, and February 23,

2021, Povich updated Kilburn on ODR’s progress conducting Comaroff’s review of evidence

interview. Povich Aff. ¶ 45 (citing Povich Aff. Exhibits 26-29).



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   84. Povich conducted Comaroff’s review of evidence interview on February 11-12, 2021,

February 18-19, 2021, February 22, 2021 and February 25-26, 2021. Povich Aff. ¶ 46. ODR

Program Administrator Erika Christensen also attended the interview, as did Comaroff and his

personal advisor, Halley. Povich Aff. ¶ 46 (citing Povich Aff. Exhibit 30).

   85. At the beginning of the first interview Povich reminded Comaroff about the FAS Policy

and Procedures’ expectation of confidentiality. As Christensen’s contemporaneous notes reflect:

       Before we start with the questions, I have a few reminders. The first is the
       expectation of confidentiality from the FAS Procedures, [reads from Procedures:
       ‘disclosing information about the case has the potential for compromising the
       integrity of the investigation and might in certain circumstance be construed as
       retaliatory. [. . .] Parties remain free to share their own experiences, other than
       information that they have learned solely through the investigatory process, though
       to avoid the possibility of compromising the investigation, it is generally advisable
       to limit the number of people in whom they confide’]. Also, a reminder of the
       prohibition against retaliation. You’re apparently aware you have a right to a
       personal advisor who may be an attorney, as you have a personal advisor who is an
       attorney.

Povich Aff. ¶ 47 (citing Povich Aff. Exhibit 30 at 1-2).

   86. At the end of the final interview, on February, 26, 2021, Povich again reminded Comaroff

about the expectation of confidentiality. Povich Aff. ¶ 48. As Christensen’s notes state:

       Finally, I just wanted to make the usual reminder on the expectation of
       confidentiality and the prohibition against retaliation that continue to apply. Thank
       you again for your participation.

Povich Aff. ¶ 48 (citing Povich Aff. Exhibit 30 at 350).

   87. Consistent with ODR’s policy and the repeated notices provided to Kilburn, Povich read

from ODR’s notes of its interview with the therapist during ODR’s February 12, 2021 review of

evidence interview with Comaroff. Povich Aff. ¶ 49.

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   88. During ODR’s investigation, ODR did not discuss what the therapist told ODR in ODR’s

October 22, 2020 interview with anyone other than Kilburn and her personal advisor (Yun) and

with Comaroff, and his personal advisor (Halley). Povich Aff. ¶ 50.

   89. ODR informed the parties what the therapist said on only one occasion for each party, in

their review of evidence interviews. Povich Aff. ¶ 50. ODR likewise did not disclose the therapist’s

notes to any person other than Kilburn, her personal advisor (Yun), Comaroff, and his personal

advisor (Halley), except in connection with its disclosure of the Final Report to FAS, as described

below in Povich Aff. ¶ 55. Povich Aff. ¶ 50.

   90. These disclosures reflect ODR’s routine practice, grounded in the applicable policy and

procedures, as ODR repeatedly informed Kilburn during the investigation. Povich Aff. ¶ 50. ODR

did not discuss what the therapist told ODR or discuss her notes with any other witness it

interviewed during the investigation. Povich Aff. ¶ 50.

   91. On May 10, 2021, Povich sent Kilburn an email attaching a Draft Report of ODR’s

investigation of her complaint against Comaroff. Povich Aff. ¶ 51 (citing Povich Aff. Exhibit 31).

As Povich’s email stated, “Under the FAS Procedures, the Investigator provides Complainant and

Respondent with a written draft of the findings of fact and analysis and gives both parties one week

to submit a written response to the draft.” Povich Aff. ¶ 51 (citing Povich Aff. Exhibit 31.) Povich’s

May 10, 2021 email also stated: “The documents referenced in the Draft Report were already

provided by you or to you during the investigation, and will be attached as exhibits to the Final

Report.” Povich Aff. ¶ 51 (citing Povich Aff. Exhibit 31).




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   92. On the same date (May 10, 2021) Povich also emailed Comaroff a copy of the Draft Report.

Povich Aff. ¶ 52 (citing Povich Aff. Exhibit 32). The May 10, 2021 emails Povich sent to Kilburn

and to Comaroff each contained the following identical language:

       Please also bear in mind the confidentiality provision of the FAS Procedures, which
       read as follows:

       vi. Confidentiality

       The ODR, personal advisors, and others at the University involved in or aware of
       the complaint will take reasonable steps to protect the privacy of all involved. Once
       a complaint is filed, the Complainant or Reporter, the Respondent, and any
       witnesses will be notified of the potential for compromising the integrity of the
       investigation by disclosing information about the case and the expectation that they
       therefore keep such information – including any documents they may receive or
       review – confidential. They also will be notified that sharing such information
       might compromise the investigation or may be construed as retaliatory. Retaliation
       of any kind is in itself a separate violation of this Policy and may lead to an
       additional complaint and consequences.

       The parties remain free to share their own experiences, other than information that
       they have learned solely through the investigatory process, though to avoid the
       possibility of compromising the investigation, it is generally advisable to limit the
       number of people in whom they confide.

Povich Aff. ¶ 52 (citing Povich Aff. Exhibit 31-32).

   93. The May 10, 2021 Draft Report sent to Kilburn and to Comaroff referred specifically to

ODR having conducted an interview of the therapist, and of having reviewed the therapist’s

individual psychotherapy notes dated March 6, 2019 and March 20, 2019. Povich Aff. ¶ 53 (citing

Povich Aff. Exhibit 33). The Draft Report refers to the therapist as “Witness 8” rather than by her

name. Povich Aff. ¶ 53.

   94. On June 14, 2021, Kilburn provided a 61-page, single-spaced response to ODR’s Draft

Report. Povich Aff. ¶ 54.
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   95. Although Kilburn’s response criticized ODR’s investigation in many respects, Kilburn’s

response did not express concerns about—or, indeed, even mention—ODR’s disclosure of

information provided by witnesses Kilburn had identified, like the therapist, to Comaroff. Povich

Aff. ¶ 54.

   96. ODR issued its Final Report (with exhibits) in this matter on August 27, 2021. Povich Aff.

¶ 55. ODR sent the Report and Exhibits to Kilburn, Yun (as Kilburn’s personal advisor), Comaroff,

Halley (as Comaroff’s personal advisor) and consistent with the FAS Policy and Procedures, to

Kwok Yu, Senior Associate Dean for Faculty Affairs, “as the Title IX Resource Coordinator and

Liaison for FAS.” Povich Aff. ¶ 55 (citing Povich Aff. Exhibits 34-36). ODR sent the Final Report

to Associate Dean Yu because the FAS Policy and Procedures, see Povich Aff. Exhibit 1, at 28,

provides that “[t]he investigation will be completed and the final report provided to the

Complainant, the Respondent, the FAS Title IX Coordinator for Faculty, the Title IX Coordinator

of the School or unit with which the Complainant is affiliated as applicable, and the Dean of the

FAS or his or her designee . . . .” Povich Aff. ¶ 55.

   97. Applying a preponderance of the evidence standard, the Final Report concluded that

Comaroff had engaged in unwelcome conduct of a sexual nature and gender-based conduct that

violated the FAS Policy and Procedures with respect to a statement Comaroff made to Kilburn in

a meeting in August 2017. Povich Aff. ¶ 55. Applying the same standard, the Final Report did not

find that several other allegations Kilburn made constituted violations of the FAS Policy and

Procedures. Povich Aff. ¶ 55.


   98. ODR’s Final Report identified Kilburn’s therapist as Witness 8, a “licensed mental health

counselor.” Povich Aff. ¶ 56 The Final Report stated that Witness 8 had provided progress notes

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for individual psychotherapy sessions on March 6, 2019 and March 20, 2019. Povich Aff. ¶ 56.

The Final Report attached as exhibits the redacted progress notes previously provided to Kilburn

and Comaroff. Povich Aff. ¶ 56 (citing Povich Aff. Exhibits 19-20).

       99. The Final Report informed the parties about the appeals process as follows:

          The FAS Procedures provide that both Complainant and Respondent may appeal
          the decision to the Dean of the FAS or his or her designee. The Dean of the FAS has
          identified the University Title IX Coordinator as the designee. The University Title
          IX Coordinator has designated the responsibility for addressing an appeal to a
          properly trained standing committee of faculty and senior administrators. If an
          appeal is received, an impartial and unbiased panel would be drawn from the
          standing committee. An appeal may be based on the following grounds:

              1. A procedural error occurred, which may change the outcome of the
                 decision; or
              2. The appellant has substantive and relevant new information that was not
                 available at the time of investigation and that may change the outcome of
                 the decision.
          Disagreement with the Investigator’s findings or determination is not, by itself, a
          ground for appeal.

Povich Aff. ¶ 57 (citing Povich Aff. Ex. 37 at 75).

       100.        On September 3, 2021, Kilburn submitted an appeal of ODR’s Final Report to

Nicole M. Merhill, the Director of Harvard’s Office for Gender Equity (“OGE”) and the

University’s Title IX Coordinator. Povich Aff. ¶ 58 (citing Povich Aff. Povich Aff. Exhibit 38).

That appeal did not complain about ODR having shared the therapy notes the therapist had

provided with Comaroff. Povich Aff. ¶ 58. See also Affidavit of Alexandria Masud (“Masud Aff.”)

¶ 2.

       101.        On September 3, 2021, OGE also received an appeal from Comaroff in the same

matter. Masud Aff. ¶ 2.
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   102.        Upon receiving the appeals, the Faculty of Arts and Sciences convened a panel of

three faculty members drawn from a pool of trained standing committee faculty and senior

administrators. This panel of three decided both appeals. Masud Aff. ¶ 5.

   103.        On September 10, 2021, OGE emailed each of the three panelists a link to a Level

4 secure Sharepoint which included the Final Report, exhibits, policies and procedures, and appeal

documents. The email also contained a link to the Sexual and Gender-Based Harassment Policy

and Procedures for the Faculty of Arts & Sciences as then in effect, which contained the following

language:

           Confidentiality. The ODR, personal advisors, and others at the University
       involved in or aware of the complaint will take reasonable steps to protect the
       privacy of all involved. Once a complaint is filed, the Complainant or Reporter,
       the Respondent, and any witnesses will be notified of the potential for
       compromising the integrity of the investigation by disclosing information about the
       case and the expectation that they therefore keep such information – including any
       documents they may receive or review – confidential. They also will be notified
       that sharing such information might compromise the investigation or may be
       construed as retaliatory. Retaliation of any kind is in itself a separate violation of
       this Policy and may lead to an additional complaint and consequences. The parties
       remain free to share their own experiences, other than information that they have
       learned solely through the investigatory process, though to avoid the possibility of
       compromising the investigation, it is generally advisable to limit the number of
       people in whom they confide. (Emphasis added).

   Masud Aff. ¶ 6.

   104.        Each of the three panel members viewed the Final Report and exhibits on this

confidential shared portal. Masud Aff. ¶ 7.




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   105.           At the start and conclusion of the panel convening, the panelists were instructed

not to share materials or their deliberations with anyone outside the appellate panel at any point

during or after the convening. Masud Aff. ¶ 8.

   106.        Following the appellate panel’s denial of Comaroff’s appeal, the question of what

sanction to impose against Comaroff based on ODR’s finding against him rests with the Dean of

the Faculty of Arts and Sciences, Claudine Gay. Affidavit of Kwok W. Yu (“Yu Affidavit”) ¶ 3.

   107.        For that reason, Yu shared ODR’s Final Report with Dean Gay, Administrative

Dean for Faculty Affairs and Planning Nina Zipser, and Dean of Social Science Lawrence D.

Bobo, the group who provided advice to Dean Gay in connection with consideration of possible

sanctions against Comaroff based on ODR’s finding and in connection with the question whether

to proceed with a professional conduct review. Yu Affidavit ¶ 3. At this time, Yu also provided a

copy of the Final Report, including the Exhibits, to a lawyer in Harvard’s Office of General

Counsel who provided legal counsel to this group. Id.

   108.        To effectuate the sanction imposed against Comaroff, Yu provide a copy of the

Report, without exhibits—specifically, without Kilburn’s therapist’s notes—and with the sections

of the Report relating to Kilburn’s therapist redacted, to one other individual. Yu Affidavit ¶ 4.




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                                           Respectfully submitted,



Victoria L. Steinberg, BBO #666482        /s/Martin F. Murphy
Julien M. Mundele, BBO #694001            Martin F. Murphy, BBO #363250
Rachel C. Hutchinson, BBO #696739         Madeleine K. Rodriguez, BBO #684394
TODD & WELD LLP                           FOLEY HOAG LLP
One Federal Street                        155 Seaport Boulevard, Suite 1600
Boston, MA 02110                          Boston, MA 02210
Telephone:     (617) 624-4714             Telephone: (617) 832-1000
Facsimile:     (617) 624-4814             Facsimile: (617) 832-7000
vsteinberg@toddweld.com                   mmurphy@foleyhoag.com
jmundele@toddweld.com                     mrodriguez@foleyhoag.com
rhutchinson@toddweld.com


                                          Attorneys for Defendants,
                                          Harvard University and President and Fellows of
                                          Harvard College




                                CERTIFICATE OF SERVICE
     I, Martin F. Murphy, hereby certify that a copy of the foregoing was sent via the Court’s
  electronic filing system and served to all counsel of record on May 31, 2022.


                                                    /s/ Martin F. Murphy
                                                    Martin F. Murphy




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